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IN THE UNITED sTATEs DISTRICT CoURT
FoR THE wEsTERN DISTRICT oF '.c'E:NNESSE:E:USWYi
wESTERN DIVISION H'

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W.o.ow w mEmPHs
UNITED STATES oF AMERICA,

Plaintiff,

vs. CR. NO. 04-20310-Ma

MAJOR GRUBBS ,

~__¢~__/~_/~._i`__/~_,/`_/\_,`.

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on April 21, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Tuesday, May 31, 2005 at 2:00 p.m.

The period from April 21, 2005 through June l7, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and 3161(h)(l)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

r'JM\

day of May, 2005.

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sAMUEL H. MAYS, JR.
Memnwmmms…s UNITED sTATEs DISTRICT JUDGE

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W`it'n Rule 55 amifor 32('0) FRCrP on __

IT IS SO ORDERED this

 

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This notice confirms a copy of the document docketed as number 52 in
case 2:04-CR-203]0 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

